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                    UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS


CLERK OF COURT                                                  www.txs.uscourts.gov

                                    March 9, 2018


In re: Kamme O. v. Texas A&M University and System
District Court No.: 4:17−cv−03877
Circuit Court No.: 18−20093


To Whom It May Concern:

Enclosed is the electronic record on CD for this Notice of Appeal. Please prepare your
brief regarding this appeal using this copy of the paginated record.
Sealed documents are not included in the record being provided unless otherwise
ordered. Requests for copies of sealed documents must be made by motion filed with
the Fifth Circuit Court of Appeals.


David J. Bradley, Clerk
By: Juanita Tabares, Deputy Clerk
